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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UMG RECORDINGS, INC. et al.,

               Plaintiffs,
                                               Case No. 8:19-cv-710-MSS-TGW
        v.

  BRIGHT HOUSE NETWORKS, LLC,

               Defendant.

           TIME-SENSITIVE NOTICE OF SUPPLEMENTAL FACTS
         AND MOTION FOR LIMITED DISCOVERY AND TO MODIFY
         BRIEFING SCHEDULES FOR BRIGHT HOUSE’S SANCTIONS
                    MOTIONS AGAINST PLAINTIFFS

        Plaintiffs submit this Notice and Motion to update the Court on significant

  new facts impacting multiple pending sanctions motions filed by Defendant Bright

  House Networks, LLC (“Bright House”). Specifically, MarkMonitor’s missing

  source code, the loss of which is at issue in Bright House’s spoliation motion,

  appears recently to have been found. Accordingly, to allow the parties to fully

  develop the record regarding this newly discovered source code, whether any

  relevant material actually has been lost, and whether Bright House has been

  prejudiced at all, Plaintiffs respectfully request that the Court permit limited

  discovery to address these issues and modify the briefing schedules for Bright

  House’s sanctions motions as described herein.
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        This motion is time-sensitive because, absent relief, Plaintiffs’ deadline to

  respond to Bright House’s Rule 37(c) sanctions motion is Friday, February 25, 2022.

  Accordingly, a ruling is respectfully requested by Thursday, February 24, 2022.

        I.     Background

        On January 14, 2022, Bright House filed a Motion for Curative Measures and

  Sanctions for Plaintiffs’ Spoliation of Evidence (the “37(e) Motion”). ECF No. 447.

  The 37(e) Motion seeks sanctions in part based on Bright House’s claim that

  MarkMonitor, Plaintiffs’ antipiracy vendor, failed to retain “[o]perable portions of

  the source code used by MarkMonitor during 2012-2016 for Audible Magic ‘file

  verification.’” 37(e) Mot. at 8, 19, 21. The 37(e) Motion noted that this source code

  consisted of two programs: “Torrent Manager” and “File Hash Manager.” Id. at 8

  n.5. Bright House acknowledged that MarkMonitor had recently found the code for

  File Hash Manager but argued that the missing code for Torrent Manager merited

  spoliation sanctions. Id.

        On February 4, 2022, Bright House filed a separate Motion for Discovery

  Sanctions Against Plaintiffs Pursuant to Federal Rule of Civil Procedure 37(c) (the

  “37(c) Motion”). ECF No. 471. The 37(c) Motion seeks sanctions against Plaintiffs

  based on when MarkMonitor found the File Hash Manager source code and




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  disclosed it to Bright House. 37(c) Mot. at 11-25. Plaintiffs’ opposition to the 37(c)

  Motion is due Friday, February 25, 2022. ECF No. 479.1

         II.    MarkMonitor disclosed last week that it recently found additional
                source code at issue.

         On February 17, 2022, MarkMonitor disclosed to the parties that

  MarkMonitor had continued to investigate the missing source code and had found

  additional code at issue. Specifically, MarkMonitor disclosed that it had found the

  source code for the relevant time period for Torrent Manager—the only code at issue

  in the 37(e) Motion.

         III.   The Court should permit limited discovery and modify the briefing
                schedule for the 37(e) and 37(c) Motions to allow the parties to fully
                develop the record regarding MarkMonitor’s source code.

         MarkMonitor’s disclosure that it has found the source code for Torrent

  Manager materially impacts the parties’ arguments regarding the 37(e) and 37(c)

  Motions. For example, a predicate element of sanctions under Fed. R. Civ. P. 37(e)

  is that “electronically stored information . . . is lost . . . ,” and MarkMonitor’s recent

  disclosures indicate that the source code that Bright House’s 37(e) motion claimed

  was spoliated is not, in fact, lost. And if Bright House (as seems likely) now plans to

  seek sanctions in connection with the Torrent Manager source code under Rule




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   Also on February 4, 2022, Bright House filed a separate, similar motion against
  MarkMonitor for contempt and sanctions in its miscellaneous action against MarkMonitor.
  See Motion for Discovery Sanctions Against MarkMonitor, Inc. Pursuant to Fed. R. Civ. P.
  37(c) and 45(g), Bright House Networks, LLC v. MarkMonitor, Inc., No. 8:20-mc-00064-MSS-
  TGW (M.D. Fl.), ECF No. 53. MarkMonitor’s response is also due February 25, 2022. Id.
  at ECF No. 63.

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  37(c), and no longer under Rule 37(e), then the most sensible and efficient procedure

  is for Bright House to amend its pending Rule 37(c) motion, rather than bringing a

  separate, largely duplicative motion.

        Bright House’s sanctions motions should be decided on a complete, accurate,

  and up-to-date factual record. To facilitate that goal, the parties must have an

  opportunity to review MarkMonitor’s recently located source code and apprise the

  Court of the effect, if any, of this code’s discovery on Bright House’s pending

  sanctions motions. Permitting this limited discovery and modifying the briefing

  schedule on these motions will not affect the trial date, currently set for August 2022.

  No summary judgment motion turns on this MarkMonitor source code. In

  accordance with that objective, Plaintiffs propose the following revisions to the

  briefing schedules for the 37(e) and 37(c) Motions:

        • The parties will complete review of MarkMonitor’s recently located
          source code by March 18, 2022.2 This time is necessary for the
          parties to arrange, consistent with the procedures for source code
          review in the Protective Order, for their technical experts to travel to
          the location of MarkMonitor’s counsel to review the code. ECF No.
          58 at 6 (stating that source code “shall be made available for
          inspection . . . at an office of the designating party’s counsel or
          another mutually agreeable location”).

        • With regard to the 37(e) Motion, by April 1, 2022 (14 days after the
          deadline to complete review of the newly discovered source code),
          the parties will submit simultaneous five-page briefs addressing only
          the newly discovered source code and its effect on the issues in the
          37(e) Motion.



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   MarkMonitor has offered to cover Bright House’s costs in connection with this
  review, up to $12,000.

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        • With regard to the 37(c) Motion:

               o Plaintiffs’ Opposition, due February 25, 2022, will be continued.

               o By April 1, 2022, Bright House may submit a revised 37(c) motion
                 incorporating, to the extent necessary, any new information learned
                 from review of the recently located source code.

               o Plaintiffs’ Opposition to Bright House’s revised 37(c) motion will be
                 due April 15, 2022.
                                    CONCLUSION

        Plaintiffs respectfully request that the Court modify the briefing schedules for

  the 37(c) and 37(e) Motions as stated above.



   Dated: February 23, 2022                      /s/ Jeffrey M. Gould

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  Local Rule 3.01(g) Certification: The parties conferred by email between February
  18 and February 23, 2022 regarding the issues raised by this motion and could not
  reach agreement.



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